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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-cv-81327-MIDDLEBROOKS

 JAMES BRANDON,

        Plaintiff,

 vs.

 PARAMOUNT RECOVERY SYSTEMS, L.P.,
 et al.,

        Defendants.


                                  ORDER DISMISSING DEFENDANT

        THIS CAUSE comes before the Court upon the Plaintiff and Defendant Healthcare Revenue
 Recovery Group, LLC ' s Stipulation of Dismissal with Prejudice, filed January 11 , 2023 . (DE 49).
 The Court congratulates the Parties on their amicable resolution of this matter and notes that pursuant
 to Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012), the Parties' Stipulation is
 self-executing and no order of the Court is required to dismiss this action. Plaintiffs claims against
 Paramount Recovery Systems, L.P. remain pending.
        Accordingly, it is ORDERED and ADJUDGED that:
        (1) Plaintiffs claims against Defendant Healthcare Revenue Recovery Group, LLC ' s are
              DISMISSED WITH PREJUDICE.
        (2) The Clerk of Court shall TERMINATE Defendant Healthcare Revenue Recovery Group,
              LLC as a defendant in this case.
        (3) Each party shall bear their own fees and costs.
        (4) Pursuant this Court' s Order Granting Plaintiffs Motion to Retain Jurisdiction (DE 48), this
              Court reserves jurisdiction to enforce their settlement agreement.   Jurisdiction will be
              reserved for a period of 60 days.
        SIGNED in Chambers at West Palm Beach, Florida, this/.; day




                                                      D ALD M. MIDDLEBROOKS
                                                      UNITED STATES DISTRICT JUDGE
 Copies to:      Counsel of Record
